     Case 6:03-cr-00045-GAP Document
                        UNITED STATES250DFiled 05/23/07
                                         ISTRICT   COURTPage 1 of 1 PageID 745
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
UNITED STATES OF AMERICA
-vs-
                                                                           Case No. 6:03-cr-45-Orl-31KRS
JEREMIAH ATWELL
_________________________________________

                           ORDER ON SUPERVISED RELEASE

       This matter came before the Court on May 22, 2007 for consideration of a Report and

Recommendation rendered by Magistrate Judge Karla R. Spaulding (Doc. No. 243), after a Final Probation

Revocation Hearing on a Petition for Revocation filed by the Probation Officer on April 13, 2007. The

Defendant was represented at the hearing by Clarence W. Counts, Jr., Federal Public Defender.

       Having heard from the parties, it is

       ORDERED AND ADJUDGED that Defendant’s supervised release is hereby revoked and the

defendant is continued on his previous term of supervised release with the following added conditions:

       1.     The defendant shall participate in the Home Detention program for a period of 90 Days.
              During this time, the defendant will remain at the defendant’s place of residence except for
              employment and other activities approved in advance by the Probation Office. The
              defendant will be subject to the standard conditions of Home Detention adopted for use in
              the Middle District of Florida, which will include the requirement to wear an electronic
              monitoring device and to follow electronic monitoring procedures specified by the Probation
              Office. Further, the defendant shall be required to contribute to the costs of these services
              not to exceed an amount determined reasonable by the Probation Office based on the
              defendant’s ability to pay.

       2.     The defendant shall participate in a substance abuse program (outpatient and/or inpatient)
              and follow the probation officer’s instructions regarding the implementation of this court
              directive. Further, the defendant shall contribute to the costs of these services not to
              exceed an amount determined reasonable by the Probation Office’s Sliding Scale for
              Substance Abuse Treatment Services. During and upon completion of this program, the
              defendant is directed to submit to random drug testing.

       3.     The defendant shall perform 100 hours of community service.



       DATED AND ORDERED on May 23, 2007 in Orlando, Florida.



Copies to:
Attorney for Defendant
U.S. Attorney’s Office
U.S. Probation
U.S. Marshal
Defendant
